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                             REVISED NOTICE OF HEARING




                       UNITED STATES DISTRICT COURT
                                        FOR THE
                                  DISTRICT OF VERMONT


Ralph Sitts, et al.,

         v.                                         Case No. 2:16-cv-287

The Dairy Farmers of America, Inc., et al.



TAKE NOTICE that the above-entitled case has been rescheduled at 9:30 a.m., on, Monday,
September 21, 2020, in Burlington, Vermont, before Honorable Christina Reiss, District Judge,
for a Jury Draw. Jury Trial will commence immediately after Jury Draw. Trial will be held
daily, from 9:00 a.m. until 4:30 p.m. through October 2, 2020.

Location: 542                                      JEFFREY S. EATON, Clerk
                                                   By: /s/ Jennifer B. Ruddy
                                                   Deputy Clerk
                                                   6/4/2020



TO:

Dana A. Zakarian, Esq.                             **ALL COUNSEL ARE DIRECTED TO CONTACT
                                                   THE COURTROOM DEPUTY OR VISIT THE
Elizabeth Reidy, Esq.                              COURT'S WEBSITE AT www.vtd.uscourts.gov FOR
Gary Franklin, Esq.                                TRIAL PREPARATION PROCEDURES INCLUDING
Joel Beckman, Esq.                                 THE PRE-MARKING OF EXHIBITS, JURY DRAW
                                                   PROCEDURES.
William Nystrom, Esq.
Michael Paris, Esq.                                ***CONTACT KATHLEEN CARTER, JURY
                                                   ADMINISTRATOR, FOR COPIES OF THE JURY
Ian Carleton, Esq.                                 QUESTIONNAIRES AT (802) 951-6395 EXT. 110
Jennifer Giordano, Esq.
Margaret Zwisler, Esq.
W. Todd Miller, Esq.
Elyse Greenwald, Esq.
Alfred Pfeiffer, Jr., Esq.

Johanna Masse, Court Reporter
